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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

J.E.B., individually and as next friend to    §
F.C.B.,                                       §
                                              §
Plaintiff(s)                                  §
                                              §
VS.                                           §
CLAY DEAN HILL, individually and              §
d/b/a SHILOH TREATMENT                        §       CIVIL ACTION NO.: 1:19-cv-00444
CENTER, SHILOH TREATMENT                      §
CENTER, INC.; JUAN J. SANCHEZ,                §
individually and d/b/a SOUTHWEST              §
KEY; AND SOUTHWEST KEY                        §
PROGRAMS, INC.,                               §
                                              §
Defendants                                    §


                 DEFENDANT’S NOTICE OF CONSENT TO REMOVAL
        Defendant, Shiloh Treatment Center, Inc., files this consent to removal under 28 U.S.C.

§1446(b)(2).

1.      Plaintiffs are J.E.B., individually and as next friend of F.C.B. Defendants are Clay Dean

Hill, individually and d/b/a Shiloh Treatment Center, Shiloh Treatment Center, Inc. (“Shiloh”),

Juan J. Sanchez, individually and d/b/a Southwest Key, and Southwest Key Programs,

Inc.(“SWK”).

2.      On March 21, 2019, Plaintiffs filed suit against Defendants in the 419th Judicial District

court in Travis County, Texas. Plaintiffs are the father and son residents and citizens of Guatemala

who, while allegedly in search of asylum in the United States, were apprehended by law

enforcement authorities in February 2018, taken into custody, and then separated from each other.

See Plaintiffs’ Petition ¶¶ 3, 14-15. In April of 2018, Plaintiff J.E.B., the father, was allegedly

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deported to Guatemala while minor Plaintiff F.C.B. remained in the custody of the United States

government, initially being placed in a facility operated by SWK in Arizona from February to June

of 2018, and then transferred to a facility operated by Shiloh Treatment Center, Inc. on June 21,

2018. See id. at ¶¶ 15-16, 23-24. Plaintiff F.C.B. allegedly remained at Shiloh from June 21,

2018, until he was deported to Guatemala in December of 2018. Id. at ¶¶ 20, 24-25. Plaintiffs

assert that during F.C.B’s time at Shiloh he was improperly treated with medication without

consent, was misdiagnosed, and was sexually assaulted by another child. Id at ¶¶ 16-19, 25-35.

3.      On April 24, 2019, Defendants Juan J. Sanchez and Southwest Key Program’s Inc. filed a

Notice of Removal to Federal Court.

4.      Defendant Shiloh Treatment Center, Inc. was served with the suit on April 22, 2019.

Defendant timely files this Notice of Consent pursuant to 28 U.S.C. § 1446(b) because it is filed

within thirty (30) days of receipt, through service or otherwise, of a copy of Plaintiff’s Original

Petition.

5.      Defendant Shiloh Treatment Center, Inc. agrees with the notice of removal and consents

to removal of this suit to federal court.

               WHEREFORE, the foregoing reasons, Shiloh consents to removal of this suit

from state to federal Court pursuant to 28 U.S.C. §1446(b)(2).




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                                                         Respectfully submitted,
                                                         TRIBBLE ROSS

                                                         By:     /s/ Wesson H. Tribble
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                                                         ATTORNEY FOR DEFENDANT,
                                                         SHILOH TREATMENT CENTER, INC.


                                    CERTIFICATE OF SERVICE


        On this the 10th day of May, 2019, I electronically submitted the foregoing document with the Clerk
of Court of the United States District Court, Western District of Texas, using the Electronic Filing System
of the Court. I hereby certify that I have served all counsel of record electronically or by another manner
authorized by Federal Rule of Civil Procedure 5(b)(2).

VIA E-SERVICE:
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                                             /s/ Wesson H. Tribble_______________
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